

People v Delp (2023 NY Slip Op 03664)





People v Delp


2023 NY Slip Op 03664


Decided on June 30, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 30, 2023

PRESENT: WHALEN, P.J., CURRAN, BANNISTER, MONTOUR, AND OGDEN, JJ. (Filed June 30, 2023.) 


MOTION NO. (1436/17) KA 10-01734.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vRONALD J. DELP, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








